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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   WORD APE, LLC d/b/a CHOMCHOM                    :   Document Filed Electronically
   ROLLER,                                         :
                                                   :
                                                   :   Civil Action No. 21-14431-MCA-MAH
                                Plaintiff,         :
            v.                                     :   Madeline Cox Arleo, U.S.D.J.
                                                   :   Michael A. Hammer, U.S.M.J.
                                                   :
   ONTEL PRODUCTS CORPORATION and                  :
   LING FUN TRADING, LTD.,                         :
                                                   :
                                                   :
                                Defendants.        x


                          PLAINTIFF’S NOTICE OF MOTION TO
                   DISMISS DEFENDANTS’ AMENDED COUNTERCLAIMS
           PLEASE TAKE NOTICE THAT on December 6, 2021, at 10:30 a.m., at the Martin Luther

  King, Jr. Federal Building and Courthouse, 50 Walnut Street, Newark, New Jersey, or as soon

  thereafter as counsel may be heard, Plaintiff Word Ape, LLC d/b/a ChomChom Roller

  (“ChomChom”), through its attorneys, will move before The Honorable Madeline Cox Arleo, for

  an order, pursuant to Fed. R. Civ. P, 12(b)(6), to dismiss the three counterclaims: (1) tortious

  interference with contract; (2) tortious interference with prospective economic benefit; and

  (3) unjust enrichment, which were filed on September 23, 2021. (ECF No. 16, at 13-16.) Support



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  for ChomChom’s motion is included within its accompanying memorandum in support of its

  motion.

                                         Respectfully submitted,

                                         LERNER, DAVID, LITTENBERG,
                                          KRUMHOLZ & MENTLIK, LLP
                                         Attorneys for Plaintiff Word Ape,
                                          LLC d/b/a ChomChom Roller

  Dated: October 28, 2021                By:    s/ Aaron S. Eckenthal
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